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3    Ross Cornell, Esq. (SBN 210413)
     Post Office Box 1989, Suite 305
4    Big Bear Lake, CA 92315
5    rc@rosscornelllaw.com
     Phone: (562) 612-1708
6    Fax: (562) 394-9556
7
     Attorneys of Record for Plaintiff,
8    Bryan Estrada
9
                            UNITED STATES DISTRICT COURT
10
                           CENTRAL DISTRICT OF CALIFORNIA
11

12                                                Case No. 5:22-cv-319
     Bryan Estrada,
13

14                                                COMPLAINT
                      Plaintiff,
15

16
                      v.
17

18

19   Proline Auto Collision Center, Inc.; Noel
     Lopez; Charles K. Wolhaupter and Does 1-
20
     10, inclusive,
21

22
                Defendants.
23

24

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28                                          -1-
29
                                          COMPLAINT

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1
                               NATURE OF THE ACTION

2                 1.    This is an action seeking to remedy unlawful discrimination by
3    the Defendants against the Plaintiff in the Defendants’ places of public
4    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
5    12101, et seq.] (the “ADA”).
6

7
                                          PARTIES
8
                  2.    Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
9
     California, County of Riverside, who requires the use of a wheelchair for mobility
10
     purposes and who is therefore a “person with a disability” within the meaning of
11
     the ADA and Cal. Government Code § 12926.
12
                  3.    The Defendants (defined below) discriminate against
13

14
     people with mobility disabilities in the full and equal enjoyment of the goods,

15   services, facilities, privileges, advantages, or accommodations on the basis of their
16   mobility disability at the Subject Property (defined below) in violation of the ADA
17   [42 U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
18                4.    The Defendants' failure to make reasonable modifications in
19   policies, practices, or procedures when such modifications are necessary to afford
20   goods, services, facilities, privileges, advantages, or accommodations to
21
     individuals with disabilities prevented people with mobility disabilities from
22
     enjoying fair and equal access to the Subject Property (defined below) in violation
23
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
24
                  5.           Defendant, Proline Auto Collision Center, Inc., owns,
25
     operates, or leases real property located at 9310 Jersey Blvd., Rancho Cucamonga,
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28                                           -2-
29
                                           COMPLAINT

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1
     CA 91730, also known as San Bernardino County Assessor’s Parcel No. 209-032-

2    03 (the “Subject Property”).
3                  6.   Defendant, Noel Lopez, owns, operates, or leases
4    real property located at 9310 Jersey Blvd., Rancho Cucamonga, CA 91730, also
5    known as San Bernardino County Assessor’s Parcel No. 209-032-03(the “Subject
6    Property”).
7
                   7.   Defendant, Charles K. Wolhaupter, owns, operates, or leases
8
     real property located at 9310 Jersey Blvd., Rancho Cucamonga, CA 91730, also
9
     known as San Bernardino County Assessor’s Parcel No. 209-032-03(the “Subject
10
     Property”).
11
                   8.   The Subject Property is a commercial facility open to the
12
     general public, is a public accommodation, and is a business establishment insofar
13

14
     as automotive repair services are made available to the general public thereat.

15   Defendant Does 1 through 10, inclusive, are sued herein under fictitious names.
16   Their true names and capacities are unknown to the Plaintiff. When their true
17   names and capacities are ascertained, Plaintiff will amend this complaint by
18   inserting their true names and capacities herein. Plaintiff is informed and believes
19   and thereon alleges that each of the fictitiously named Defendants are responsible
20   in some manner for the occurrences herein alleged, and that the harm to Plaintiff
21
     herein alleged were proximately caused by those Defendants.
22

23
                              JURISDICTION AND VENUE
24
                   9.   This Court has jurisdiction over the subject matter of this action
25
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
26
     of the ADA.
27

28                                          -3-
29
                                          COMPLAINT

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1
                   10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)

2    based on the fact that the real property that is the subject of this action is located in
3    this district and the Plaintiff’s causes of action arose in this district.
4

5                                  STATEMENT OF FACTS
6                  11.    Parking spaces, accessible aisles, paths of travel, signage,
7
     doorways, restrooms, service counters, customer areas and goods/services are
8
     among the facilities, privileges and advantages offered by the Defendants to
9
     patrons of the Subject Property.
10
                   12.    The Subject Property does not comply with the minimum
11
     requirements of the ADA and is therefore not equally accessible to persons with
12
     mobility disabilities.
13

14
                   13.    In July, 2021 and continuously from that time to the

15   Present, and currently, the Subject Property has not been in compliance with the
16   ADA (the “Barriers”):
17                        A.     The Subject Property lacks the minimum required
18   number of ADA compliant accessible parking spaces. There are none provided.
19                        B.     There was no diagonal striped marking and no blue
20   border around where an access aisle is supposed to exist adjacent to any designated
21
     accessible parking space serving the Subject Property.
22
                          C.     The parking spaces provided at the Subject Property are
23
     smaller than permitted by the ADA.
24
                          D.     The parking spaces at the Subject Property do not
25
     provide accessible parking signage as required by the ADA. Among other things,
26

27

28                                             -4-
29
                                             COMPLAINT

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1
     they fail to provide tow-away signage and “Minimum Fine $250” signage as

2    required by the ADA and state law to be posted.
3                        E.    The parking spaces at the Subject Property do not
4    provide the universal symbol of accessibility.
5                        F.    There is no twelve-inch high “NO PARKING” lettering
6    on any blue-striped parking access aisle serving the Subject Property.
7
                         G.    There was no designated “van accessible” parking space
8
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
9
     going forward into the parking space and no sign or additional language stating
10
     “Van Accessible” below the symbol of accessibility located in a manner that is not
11
     obstructed.
12
                   14.   Plaintiff personally encountered one or more of the Barriers
13

14
     at the Subject Property in July, 2021, including a lack of accessible parking spaces

15   and blue-striped parking access aisles. Plaintiff and other mobility disabled
16   members of the general public are prevented from parking for fear of being
17   blocked in by another parked car and for lack of safe space to exit the vehicle to
18   assemble and disassemble their wheelchairs, thus denying full and equal access to
19   the Subject Property and to the auto repair business located thereat.
20                 15.   Between July, 2021 and the present, the Plaintiff had actual
21
     knowledge of the existence of Barriers at the Subject Property, which are located
22
     in the parking areas. In addition to the Barriers, on information and belief based on
23
     a visual inspection and subject to expert confirmation, Plaintiff alleges the
24
     following ADA violations exist on the Subject Property: there is no accessible
25
     path of travel from the public right of way; the primary entrance to Proline
26
     Collision lacks a smooth surface within ten inches of the floor on the push side; the
27

28                                           -5-
29
                                           COMPLAINT

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1
     floor mat at the primary entrance door to Proline Collision is not secured in place;

2    the flush handle is located on the wrong side of the toilet in Proline Collision; there
3    is insufficient knee clearance at the restroom lavatory in Proline Collision; the
4    mirror in the restroom at Proline Collision is mounted too high; the toilet paper
5    dispenser in the restroom at Proline Collision is located at in accessible location;
6    the customer service transaction counter inside Proline Collision is too high.
7
                  16.    The existence of Barriers, the implementation of discriminatory
8
     policies, practices and procedures, and other ADA violations at the Subject
9
     Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
10
     Property on a particular occasion between July, 2021 and the present.
11
                  17.    On information and belief, the remediation of violations
12
     identified hereinabove, to be identified by the Defendants in discovery, and to be
13

14
     discovered by Plaintiff’s experts are all readily achievable in that the removal of

15   them by the Defendants is and has been easily accomplishable without much
16   difficulty or expense.
17                18.    Defendants violated the ADA by failing to remove all mobility-
18   related architectural barriers at the Subject Property. On information and belief,
19   Plaintiff alleges that the failure to remove barriers has been knowing, willful and
20   intentional because the barriers described herein are clearly visible and tend to be
21
     obvious even to a casual observer and because the Defendants operate the Subject
22
     Property and have control over conditions thereat and as such they have, and have
23
     had, the means and ability to make the necessary remediation of access barriers if
24
     they had ever so intended.
25
                  19.    On information and belief, access barriers at the Subject
26

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28                                           -6-
29
                                           COMPLAINT

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1
     Property are being consciously ignored by the Defendants; the Defendants have

2    knowingly disregarded the ongoing duty to remove the Barriers in compliance with
3    the ADA. Plaintiff further alleges on information and belief that there are other
4    ADA violations and unlawful architectural barriers at the Subject Property that
5    relate to Plaintiff’s mobility disability that will be determined in discovery, the
6    remediation of which is required under the ADA.
7
                  20.    Plaintiff hereby seeks an injunctive relief order for the
8
     remediation and removal all barriers related to his mobility disability, including but
9
     not limited to the Barriers, whether presently known or unknown. The Subject
10
     Property is within approximately twenty miles from Plaintiff's place of
11
     employment, and Plaintiff is in the Rancho Cucamonga area regularly and
12
     consistently for personal reasons. Plaintiff intends to return to the Rancho
13

14
     Cucamonga area at least several times within the next twelve months and will

15   observe and confirm whether access barriers have been remediated and removed at
16   the Subject Property. Plaintiff would benefit from barrier removal by having the
17   equal opportunity to use the services provided at the auto repair business located at
18   the Subject Property if it were made accessible to him, which he would be inclined
19   to do in the future. Plaintiff is presently deterred from attempting to use the auto
20   repair services provided at the Subject Property because of the Barriers.
21
                  21.    Even if strictly compliant barrier removal were determined to
22
     be structurally or otherwise impracticable, there are many alternative methods of
23
     providing accommodations that are readily apparent and that could provide a
24
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
25
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
26
     conscious indifference to their legal obligations and to the rights of persons with
27

28                                            -7-
29
                                            COMPLAINT

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1
     mobility disabilities. Defendants’ failure to implement reasonable available

2    alternative methods of providing access violates the ADA [42 U.S.C. §
3    12182(b)(2)(A)(v)].
4                 22.    The violations and references to code sections herein are not
5    all-inclusive. Plaintiff will amend this complaint to provide a complete description
6    of the full scope of ADA violations after conducting a comprehensive expert site
7
     inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
8
     that the barriers alleged herein violate one or more of the ADA’s implementing
9
     regulations. The Defendants have maintained and continue to maintain
10
     discriminatory policies, procedures and practices that disregard their obligations
11
     under the ADA by allocating resources for physical improvements to the Subject
12
     Property that were did not provide legally required accessibility improvements, by
13

14
     failing to conduct ADA self-inspections or create ADA compliance plans

15   regarding the Subject Property, by causing alterations to be made to the Subject
16   Property in disregard of ADA requirements, and for failing and refusing to make
17   necessary accommodations for persons with mobility disabilities at the Subject
18   Property. Plaintiff seeks a declaration that the Defendants’ disability rights
19   compliance policies, procedures and practices are discriminatory and violate the
20   ADA.
21
                               FIRST CAUSE OF ACTION
22                            Discrimination Based on Disability
23
                                 [42 U.S.C. §§ 12101, et seq.]
                              By Plaintiff against all Defendants
24

25
                  23.    Plaintiff re-alleges and incorporates by reference as though
26
     fully set forth herein the allegations contained in all prior paragraphs of this
27
     complaint.
28                                            -8-
29
                                            COMPLAINT

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1
                  24.    The ADA obligates owners, operators, lessees and lessors of

2    public accommodations to ensure that the privileges, advantages, accommodations,
3    facilities, goods and services are offered fully and equally to persons with
4    disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
5    12182(a)].
6                 25.    Discrimination is defined in the ADA, inter alia, as follows:
7
                         A.     A failure to remove architectural barriers where such
8
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
9
     barriers are identified and described in the Americans with Disabilities Act
10
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
11
                         B.     A failure to make alterations in such a manner that, to the
12
     maximum extent feasible, the altered portions of the facility are readily accessible
13

14
     to and usable by individuals with disabilities, including individuals who use

15   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
16   the altered area and the bathrooms, telephones, and drinking fountains serving the
17   altered area, are readily accessible to and usable by individuals with disabilities [42
18   U.S.C. § 12183(a)(2)].
19                       C.     Where an entity can demonstrate that the removal of a
20   barrier is not readily achievable, a failure to make such goods, services, facilities,
21
     privileges, advantages, or accommodations available through alternative methods
22
     if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
23
                         D.     A failure to make reasonable modifications in
24
     policies, practices, or procedures, when such modifications are necessary to afford
25
     such goods, services, facilities, privileges, advantages, or accommodations to
26
     individuals with disabilities, unless the entity can demonstrate that making such
27

28                                            -9-
29
                                            COMPLAINT

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 1
     modifications would fundamentally alter the nature of such goods, services,

 2   facilities, privileges, advantages, or accommodations [42 U.S.C. §
 3   12182(b)(2)(A)(ii)].
 4               26.    The ADA, the ADAAG’s 1991 Standards (the “1991
 5   Standards”) and 2010 Standards (the “2010 Standards”), and the California
 6   Building Code (the “CBC”) contain minimum standards that constitute legal
 7
     requirements regarding wheelchair accessibility at places of public
 8
     accommodation:
 9
                        A.    If parking spaces are provided for self-parking by
10
     employees or visitors, or both, then the subject property must provide at least the
11
     minimum required number of accessible parking spaces.Accessible parking
12
     spaces must be marked to define their width and must have an adjacent ADA
13

14
     compliant access aisle. Accessible parking spaces must be at least 96 inches wide

15   and van parking spaces must be at least 132 inches wide except that van parking
16   spaces can be 96 inches wide where the access aisle is not less than 96 inches
17   wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
18   Subject Property does not comply with the ADA.
19                      B.    To qualify as a reserved handicap parking space, the
20   space must be properly marked and designated. Under the ADA, the method,
21
     color of marking and length of the parking space are to be addressed by state or
22
     local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
23
     and 503].
24
                        C.    To properly and effectively reserve a parking space for
25
     persons with disabilities, each parking space must be at least 216 inches in length
26
     [CBC § 11B-502.2].
27

28                                          -10-
29
                                          COMPLAINT

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 1
                        D.    Each parking space reserved for persons with disabilities

 2   shall be identified by a reflectorized sign permanently posted immediately
 3   adjacent to and visible from each stall or space, consisting of the International
 4   Symbol of Accessibility in white on a dark blue background. The sign shall not be
 5   smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 6   shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 7
     the sign to the parking space finished grade. Signs may also be centered on the
 8
     wall at the interior end of the parking space. An additional sign or additional
 9
     language below the symbol of accessibility shall state "Minimum Fine $250"
10
     [2010 Standards § 502.6; CBC § 1129B.4].
11
                        E.    Signs identifying accessible parking spacesmust include
12
     the International Symbol of Accessibility [2010 Standards §§ 502.6].
13

14
                        F.    To properly and effectively reserve a parking space for

15   persons with disabilities, the surface of the access aisle must have a blue
16   border; the words “NO PARKING” in letters at least a foot high must be
17   painted on the access aisle [CBC § 1129B.3].
18                      G.    One in every eight accessible spaces, but not less than
19   one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
20   wide minimum placed on the side opposite the driver’s side when the vehicle is
21   going forward into the parking space and shall be designated van accessible. Van
22
     accessible spaces must have an additional sign or additional language stating "Van
23
     Accessible" below the symbol of accessibility. Signs identifying accessible
24
     parking spaces must be located so they cannot be obscured by a vehicle parked in
25
     the space[1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
26
     and B4].
27

28                                          -11-
29
                                          COMPLAINT

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 1
                 27.    The Defendants have failed to comply with minimum

 2
     ADA standards and have discriminated against persons with mobility
 3   disabilities on the basis of thereof. Each of the barriers and accessibility
 4   violations set forth above is readily achievable to remove, is the result of an
 5   alteration that was completed without meeting minimum ADA standards,
 6   or could be easily remediated by implementation of one or more available
 7   alternative accommodations. Accordingly, the Defendants have violated the
 8   ADA.
 9               28.    The Defendants are obligated to maintain in operable
10   working condition those features of the Subject Property’s facilities and
11   equipment that are required to be readily accessible to and usable by
12   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
13   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
14
     Subject Property were available and ready to be used by the Plaintiff
15
     violates the ADA.
16
                 29.    The Defendants have a duty to remove architectural
17
     barriers where readily achievable, to make alterations that are consistent
18
     with minimum ADA standards and to provide alternative accommodations
19
     where necessary to provide wheelchair access. The Defendants benign
20
     neglect of these duties, together with their general apathy and indifference
21
     towards persons with disabilities, violates the ADA.
22
                 30.    The Defendants have an obligation to maintain policies,
23
     practices and procedures that do not discriminate against the Plaintiff and
24
     similarly situated persons with mobility disabilities on the basis of their
25

26
     disabilities. The Defendants have maintained and continue to maintain a policy of

27   disregarding their obligations under the ADA, of allocating resources for
28                                          -12-
29
                                          COMPLAINT

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     improvements insufficient to satisfy legal requirements regarding accessibility

 2   improvements, of failing to conduct ADA self-inspections or create ADA
 3   compliance plans, of causing alterations to be made to the Subject Property in
 4   disregard of ADA requirements, and of failing and refusing to make necessary
 5   accommodations for persons with mobility disabilities at the Subject Property, in
 6   violation of the ADA.
 7                31.   The Defendants wrongful conduct is continuing in that
 8
     Defendants continue to deny full, fair and equal access to their business
 9
     establishment and full, fair and equal accommodations, advantages,
10
     facilities, privileges and services to Plaintiff as a disabled person due to
11
     Plaintiff’s disability. The foregoing conduct constitutes unlawful
12
     discrimination against the Plaintiff and other mobility disabled persons
13
     who, like the Plaintiff, will benefit from an order that the Defendants
14
     remove barriers and improve access by complying with minimum ADA
15
     standards.
16

17
     ///
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28                                          -13-
29
                                          COMPLAINT

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 1
                               PRAYER FOR RELIEF

 2
           Plaintiff prays to this Court for injunctive, declaratory and all other
 3   appropriate relief under the ADA , including but not limited to reasonable
 4   attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
 5   12205.
 6         Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
           not seek injunctive relief under the Unruh Act or Disabled Persons
 7
           Act at all by way of this action.
 8
     Respectfully submitted,
 9

10   Dated: 02/18/2022             LAW OFFICES OF ROSS CORNELL, APC
11

12                                 By: /s/ Ross Cornell
13                                     Ross Cornell, Esq.,
                                       Attorneys for Plaintiff,
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                                       Bryan Estrada
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28                                        -14-
29
                                        COMPLAINT

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